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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

EMILY DAHL, HANNAH REDOUTE,                                AMENDED STIPULATION TO
BAILEY KORHORN, and MORGAN                                 AMEND VERIFIED
OTTESON,                                                   COMPLAINT AND
                                                           TEMPORARY RESTRAINING
                           Plaintiffs,                     ORDER

-vs-

THE BOARD OF TRUSTEES OF WESTERN                           CASE NO.:1:21-cv-757
MICHIGAN UNIVERSITY; EDWARD
MONTGOMERY, President of WMU; KATHY                        HON.: PAUL L. MALONEY
BEAUREGARD, WMU Athletic Director; and
TAMMY L. MILLER, Associate Director
of Institutional Equity,

                           Defendants.
                                                    /

David A. Kallman         (P34200)                          Michael S. Bogren (P34835)
Stephen P. Kallman       (P75622)                          PLUNKETT COONEY
Erin E. Mersino          (P70886)                          Attorney for Defendants
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AMENDED STIPULATION TO AMEND VERIFIED COMPLAINT AND TEMPORARY
                      RESTRAINING ORDER

IT IS HEREBY STIPULATED, by and between the parties, as follows:

        1. Since Plaintiffs filed their lawsuit and this Honorable Court issued the Temporary

            Restraining Order, Plaintiffs have been contacted by numerous other student athletes

            at Western Michigan University (WMU) who were denied their requested

            accommodation regarding the COVID-19 vaccine.



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        2. The parties have been in communication to discuss the most expedient means of

             addressing this issue.

        3. The parties stipulate that Plaintiffs shall be permitted to file the attached First

             Amended Verified Complaint pursuant to Fed R. Civ. P. 15, which adds additional

             student athletes at WMU as Plaintiffs, and Defendants’ counsel will accept service of

             the First Amended Verified Complaint.

        4. The parties stipulate that this Honorable Court amend its TRO (ECF No. 8) to expand

             its application to all Plaintiff student athletes included in the First Amended Verified

             Complaint who requested a religious accommodation to the mandated COVID-19

             vaccine at WMU pending the hearing currently scheduled with this Honorable Court

             on September 9, 2021 at 1:30 p.m.

        5. Defendants are not waiving any argument that the policy is constitutionally valid and

             the TRO should not be continued beyond September 9, 2021. However, in order to

             avoid a multiplicity of litigation at this stage of the proceedings that will create a

             burden on the parties and the Court, the parties are in agreement regarding this

             stipulation.

       WHEREFORE, the parties respectfully request that this Honorable Court permit and

accept Plaintiffs’ First Amended Verified Complaint for filing and amend the current TRO (ECF

No. 8) to now apply to all Plaintiff student athletes who are listed in the First Amended Verified

Complaint.




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DATED: September 2, 2021.

                                          /s/ David A. Kallman
                                          David A. Kallman
                                          Stephen P. Kallman
                                          Erin E. Mersino
                                          Jack C. Jordan
                                          Counsel for Plaintiffs



                                          /s/ Michael S. Bogren
                                          Michael S. Bogren
                                          Counsel for Defndants




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